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                  EXHIBIT A
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From:             Larakers, Mary L. (CIV)
To:               Trina Realmuto; matt@nwirp.org
Cc:               Kristin Macleod-Ball; hughesa@humanrightsfirst.org; Perez, Elianis (CIV); Seamon, Matthew (CIV)
Subject:          RE: DVD v. DHS (D. Mass.) - Plaintiff O.C.G.
Date:             Friday, May 16, 2025 9:46:20 PM
Attachments:      image001.png


Hi Trina,

The amended discovery responses are attached.

I have not heard back from ICE regarding your request that they facilitate OCG return to
the United States.

From: Trina Realmuto <trina@immigrationlitigation.org>
Sent: Friday, May 16, 2025 3:49 PM
To: Larakers, Mary L. (CIV) <Mary.L.Larakers@usdoj.gov>; matt@nwirp.org
Cc: Kristin Macleod-Ball <Kristin@immigrationlitigation.org>; hughesa@humanrightsfirst.org; Perez,
Elianis (CIV) <Elianis.Perez@usdoj.gov>; Seamon, Matthew (CIV) <Matthew.Seamon2@usdoj.gov>
Subject: [EXTERNAL] DVD v. DHS (D. Mass.) - Plaintiff O.C.G.

Hi Mary,
 Are Defendants still planning to get the corrections on file today before the court
closes at 5pm?
 Also, is DHS amenable to immediately facilitating O.C.G.’s return?
If we do not hear back on DHS’ position on return by midnight, please treat this email
and the one from Matt yesterday as a good faith effort to resolve this issue pursuant
to Local Rule 7.1(a)(2) because we will prepare a motion for a TRO seeking O.C.G.’s
return.
Thanks,
Trina
               Trina Realmuto
               National Immigration Litigation Alliance
               617-819-4447 / trina@immigrationlitigation.org
               www.immigrationlitigation.org
               Facebook: NatlImmLitAlliance / LinkedIn




From: Larakers, Mary L. (CIV) <Mary.L.Larakers@usdoj.gov>
Sent: Thursday, May 15, 2025 6:39 PM
To: matt@nwirp.org
Cc: Trina Realmuto <trina@immigrationlitigation.org>; Kristin Macleod-Ball
<Kristin@immigrationlitigation.org>; hughesa@humanrightsfirst.org; Perez, Elianis (CIV)
<Elianis.Perez@usdoj.gov>; Seamon, Matthew (CIV) <Matthew.Seamon2@usdoj.gov>
Subject: Re: [EXTERNAL] RE: DVD Protective Order

Hi Matt,
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Yes, it is our intention to get those corrections on file tomorrow. I will have to pass the
second question along to DHS.



      On May 15, 2025, at 5:55 PM, Matt Adams <matt@nwirp.org> wrote:


      Hi Mary,

      Can you please notify the Court by tomorrow with these corrections? And
      in light of this information are Defendants now willing to immediately
      facilitate the return of O.C.G.?

      Matt

      On Thu, May 15, 2025 at 2:37 PM Larakers, Mary L. (CIV)
      <Mary.L.Larakers@usdoj.gov> wrote:
        Counsel,

        After further investigation, ICE cannot identify the officer who gave O.C.G.
        notice that he was being removed to Mexico when he was outside the detention
        center as stated in O.C.G.’s declaration (ECF No. 8-4). ICE has not found any
        officer who remembers such an interaction with O.C.G specifically. Nor can
        ICE confirm that any officer asked O.C.G. if he had a fear of return to Mexico.
        I know this conflicts with representations Defendants have made to the Court
        and we are working on a filing to correct those representations. We are also
        working on amended responses to the written discovery. Given this
        information, we no longer have a deponent for tomorrow’s deposition and have
        to cancel the deposition.

        Best,
        Mary




                On May 8, 2025, at 7:01 PM, Trina Realmuto
                <trina@immigrationlitigation.org> wrote:


                Hi Mary,

                Thank you for the information about Mr.          We will be in
                touch with video link information.

                Attached please find Plaintiffs’ edits to the protective order
                and clawback agreement.
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       Thanks,
       Trina

        <image001.png> Trina Realmuto
                          National Immigration Litigation Alliance
                          617-819-4447 / trina@immigrationlitigation.org
                          www.immigrationlitigation.org
                          Facebook: NatlImmLitAlliance / LinkedIn




       From: Larakers, Mary L. (CIV) <Mary.L.Larakers@usdoj.gov>
       Sent: Thursday, May 8, 2025 3:33 PM
       To: Trina Realmuto <trina@immigrationlitigation.org>
       Cc: matt@nwirp.org; Kristin Macleod-Ball
       <Kristin@immigrationlitigation.org>; hughesa@humanrightsfirst.org;
       Perez, Elianis (CIV) <Elianis.Perez@usdoj.gov>; Seamon, Matthew (CIV)
       <Matthew.Seamon2@usdoj.gov>
       Subject: Re: [EXTERNAL] RE: DVD Protective Order

       Hi Trina,

       The deponent is available May 16 for the deposition and is
       amendable to doing the deposition by zoom. His name is
            . He is a deportation officer in Eloy, Arizona.


             On May 8, 2025, at 12:51 PM, Trina Realmuto
             <trina@immigrationlitigation.org> wrote:


             Mary,

             Apologies for the delayed acknowledgement of
             receipt. We are reviewing and will circle back
             later today.

             Thanks, Trina

             <image002.png> Trina Realmuto
                                 National Immigration Litigation Alliance
                                 617-819-4447 / trina@immigrationlitigation.org
                                 www.immigrationlitigation.org
                                 Facebook: NatlImmLitAlliance / LinkedIn




             From: Larakers, Mary L. (CIV)
             <Mary.L.Larakers@usdoj.gov>
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            Sent: Wednesday, May 7, 2025 8:19 PM
            To: Trina Realmuto <trina@immigrationlitigation.org>
            Cc: matt@nwirp.org; Kristin Macleod-Ball
            <Kristin@immigrationlitigation.org>;
            hughesa@humanrightsfirst.org; Perez, Elianis (CIV)
            <Elianis.Perez@usdoj.gov>; Seamon, Matthew (CIV)
            <Matthew.Seamon2@usdoj.gov>
            Subject: DVD Protective Order

            Hi Trina,

            Please see attached a draft protective order and
            502(d) for your review. We hope this protective
            order can form the basis for the compliance
            discovery protective order. But, this is just for the
            OCG discovery for now.

            Thanks,
            Mary

            Mary L. Larakers
            Senior Litigation Counsel
            United States Department of Justice
            Office of Immigration Litigation
            P.O. Box 868
            Ben Franklin Station
            Washington, DC 20044
            T: (202) 353 4419
            F: (202) 305-7000
            mary.l.larakers@usdoj.gov


            <image003.jpg>

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       <DVD 502(d) Order_v1 - Pls edits.docx>
       <DVD Protective Order_v2 - Pls edits.docx>


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 (206) 957-8611
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